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4
     Attorney for Michael Daves
5

6
                        IN THE UNITED STATES DISTRICT COURT
7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,        )
                                      ) CR S-09-0321 MCE
10                       Plaintiff,   )
                                      ) STIPULATION AND ORDER RESETTING
11                v.                  ) STATUS CONFERENCE AND EXCLUDING
                                      ) TIME UNDER THE SPEEDY TRIAL ACT
12
     MICHAEL DAVES,                   )
13
                                      ) DATE: August 19, 2010
                         Defendant.   ) TIME: 9:00 AM
14                                    ) CTRM: MCE

15        The United States of America, through counsel of record,

16   Assistant United States Attorney Robin R. Taylor, and defendant

17
     Michael Daves, by an through his counsel of record, Michael
     Bigelow Esq., hereby submit this stipulation and proposed order
18
     regarding the status conference set for August 6, 2010.          The
19
     parties desire to move this appearance to August 19, 2010.
20
          The defendant moves that time be excluded from August 6,
21
     2010, through August 19, 2010, from computation of time within
22
     which the trial of this case must be commenced, pursuant 18 U.S.C.
23
     § 161(h)(8)(B)(iv) (Local code T4 - to give counsel reasonable
24
     time to prepare).
25




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1    Mr. Bigelow represents that he needs time review discovery, meet
2    with his client, and meet with the government.

3         The defendant is aware of the request for continuance and

4    approves of it.

5
                                              Respectfully submitted,
6
                                              BENJAMIN B. WAGNER
7                                             United States Attorney
8
     Dated: August 4, 2010             By:      /s/ Robin Taylor
9                                             ROBIN TAYLOR
                                              Assistant U.S. Attorney
10                                            Attorneys for Plaintiff

11
     DATED: August 4, 2010                    By:/s/ Michael Bigelow
12                                            MICHAEL B. BIGELOW
                                              Attorney for Defendant
13

14

15
                                        ORDER
16

17
          For good cause shown above,
18

19
          IT IS SO ORDERED.
20
     DATED: August 4, 2010
21
                                   __________________________________
22                                 MORRISON C. ENGLAND, JR
                                   UNITED STATES DISTRICT JUDGE
23

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